                                                                  ORIGINA L
  Case 5:05-cr-00020-WTM-JEG Document 120 Filed 04/10/06 Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISIO N




UNITED STATES OF AMERICA
                                              )
                                              )           CASE NO . CR505-02 0
              V,                              )

TRISTON JOHNSON, a/k/a "Big Trick" )
MICHAEL RILES . KIEEMA DAVIS, )
NATHAN GLOVER, DAVID LEE JONES, )
and LASHEROL BURROUGHS )


                                         ORDER

       Defendant David L . Jones ("Jones") is charged with violating 21 U .S.C . § 846,

Conspiracy to Distribute 50 Grams or More of Cocaine Base (Crack) and a quantity of

Cocaine Hydrochloride (powder) . Jones filed a Motion to Sever Parties (Doc . No. 102).

The undersigned conducted a hearing on March 7, 2006 .

                               STATEMENT OF THE CAS E

       Jones's theory of his defense is that he did not participate in the alleged conspiracy

during the relevant time period . Jones contends that he is entitled to severance from the

remaining co-defendants because only two incidents involved Jones during the applicable

time period, February 2005 to July 2005 . Jones has been in custody since July 1, 2005

and he did not participate in the conspiracy after that date . In one of the incidents, police

stopped a vehicle driven by Defendant Burroughs with Jones as a passenger . Although

no drugs were found in the vehicle, police discovered $28,000 . Jones asserts that

Burroughs has made statements indicating that Jones had no connection to this money .
  Case 5:05-cr-00020-WTM-JEG Document 120 Filed 04/10/06 Page 2 of 5



Jones contends that Burroughs obtained this money legally and was going to use it to pay

for her mobile home.

        Jones avers that, during the second incident, police recognized him and quickly

approached him . Jones states that he, along with other individuals in the area, ran from

police. Jones asserts that Police found a bag of cocaine in the area through which Jones

ran . Jones alleges that the bag of cocaine did not belong to him and that another

individual dropped it . Jones contends that when police apprehended him, they did not find

cocaine or any other evidence of drugs on him and did not test his hands for cocaine

residue . Jones supports these contentions with testimony from the arresting officers,

provided at his probation revocation hearing and committal hearing . During this incident,

none of the other Defendants were with Jones ; however, Defendant Burroughs was in the

street unloading her car and witnessed the event .

        Jones contends that statements provided by witnesses do not support his

participation in the conspiracy . Jones asserts that if the parties are severed, Defendant

Burroughs will testify in Jones's trial, on his behalf, regarding both of the above set forth

incidents . Jones contends that if the motion to sever is denied, Defendant Burroughs will

not testify .

        The Government avers that Jones is merely providing evidence of his innocence

and does not satisfy the requirements necessitating severance . The Government argues

that the co-defendant testimony rule is only applicable when co-defendants' defenses are

irreconcilable .




                                              2
  Case 5:05-cr-00020-WTM-JEG Document 120 Filed 04/10/06 Page 3 of 5




DISCUSSION AND CITATION TO AUTHORIT Y

       Joint trials of defendants who have been indicted together are preferred in the

federal system in order to promote efficiency and to avoid inconsistent verdicts . Zafiro v .

United States , 506 U .S. 534, 537-39, 113 S . Ct . 933, 937, 122 L . Ed .2d 317 (1993) (citing

Richardson v . Marsh , 481 U.S. 200, 209,107 S. Ct . 1702, 95 L. Ed .2d 176 (1987)) ; United

States v . Baker, 432 F .3d 1189, 1236 (11th Cir . 2005) . However, if it appears a defendant

or the government is prejudiced by a joinder of defendants for trial, the Court may grant a

severance or provide other relief that justice requires . See FED . R . CRIM. P. 14(a) . Some

degree of bias is inherent in every joint trial and severance is warranted only in compelling

cases . Baker, 432 F.3d at 1236 .

       When deciding a motion to sever parties , a court must balance the defendant 's right

to a fair trial against the public's interest in efficient and economic administration of justice .

Baker. 432 F .3d at 1236 (citing United States v . Alvarez , 755 F .2d 830, 857 (11th Cir .

1985)) . Severance is granted only when the defendant can demonstrate that a joint trial

will result in "specific and compelling prejudice " to the conduct of his or her defense,

resulting in "fundamental unfairness ." United States v. Knowles , 66 F .3d 1146, 1159 (11th

Cir . 1995) (internal citations omitted) . Compelling prejudice does not occur "simply

because much of the evidence at trial is applicable only to his co-defendants, even when

the disparity is'enormous' ." Baker , 432 F .3d at 1236 . (citing United States v. Schlei , 122

F.3d 944, 984 (11th Cir . 1997)) (internal citations omitted) .

       Further, where a defendant argues for severance on the grounds that it will permit

the exculpatory testimony of a co-defendant, he "must show : (1) a bona fide need for the

testimony; (2) the substance of the desired testimony ; (3) the exculpatory nature and effect

                                                3
  Case 5:05-cr-00020-WTM-JEG Document 120 Filed 04/10/06 Page 4 of 5



of the desired testimony ; and (4) that the co - defendant would indeed have testified at a

separate trial ." Baker, 432 F .3d at 1239 (citing United States v . Cobb , 185 F .3d 1193,

1197-98 (11th Cir .1999)) . Even if the Defendant satisfies these requirements, the court

must also : "( 1) examine the significance of the testimony in relation to the defendant's

theory of the case; (2) assess the extent of prejudice caused by the absence of the

testimony ; (3) consider judicial administration and economy ; and (4) give weight to the

timeliness of the motion ." Baker, 432 F .3d at 1239 .

        In the instant case , Jones has not satisfied the requirements for severance .

Although Jones states that Defendant Burroughs would only be willing to testify if Jones's

case is severed from the remaining Defendants , Jones has not established that there is

a bona fide need for the testimony , given its substance and loose exculpato ry nature . First,

the credibility of the testimony is questionable, particularly given Jones's failure to present

evidence that Defendant Burroughs's testimony would not be contrary to her defense . See

Baker, 432 F .3d at 1240 ( stating that a District Court is justified in the denial of severance

when the testimony, as presented in an affidavit , is in no way contra ry to a co-defendant's

own interests) . Contradictions exist between Defendant Burroughs 's and the arresting

officers' testimony provided at Jones's probation revocation hearing . (See, e.g., Def.'s Ex .

2, p . 20, 51-57 . )

        Further, the evidence and factual conclusions Jones wishes to enter in his defense

may be established through cross -examination of arresting officers or through testimony

by Jones himself . Forexample , Burroughs ' s potential testimony regarding the possession

of money can be established through Jones 's own testimony and cross -examination of

officers who stopped Burroughs's car . It is also reasonable to assume that Burroughs' s

                                               4
   Case 5:05-cr-00020-WTM-JEG Document 120 Filed 04/10/06 Page 5 of 5




defense would present evidence regarding the origin and use of the money found in the

vehicle . Effective cross-examination would also establish Jones's contentions that

inaccurate testimony has portrayed incorrect assumptions of his participation in this alleged

conspiracy.

       Jones has also attempted to narrow the time period and scope of the conspiracy

charge against him ; however, limited involvement in a conspiracy alone does not justify

severance. See Baker , 432 F .3d at 1236 . Given the strong preference against severing

co-defendants brought under the same indictment, as well as the interests of judicial

administration and efficiency, Jones has not presented a compelling case for severance .

Jones will not be unfairly prejudiced when facing the conspiracy charges against his co-

defendants at trial .

       Accordingly, the Motion to Sever Parties filed by Defendant Jones is DENIED .

       So ORDERED, this aay of April, 2006 .




                                             NITED STATES MAGISTRATE JUDG E




                                              5
